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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

 IN RE:                                                 CASE NO.: 19-bk-02033-KJ

 DAVID R. BILLSBOROUGH                                           CHAPTER 7
 PATRICIA A. BILLSBOROUGH

     Debtors.

 ________________________________________/



     LIMITED OBJECTION TO MOTION TO SELL PROPERTY OF THE ESTATE
       (PROPERTY: 12836 JACOB GRACE COURT, WINDEMERE, FL 34786)

       COMES NOW, U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE FOR

MORGAN          STANLEY       MORTGAGE           LOAN    TRUST     2006-16AX,      MORTGAGE

PASS-THROUGH CERTIFICATES, SERIES 2006-16AX ("Secured Creditor”), by and

through undersigned counsel, hereby files its Limited Objection to Motion to Sell Property of

the Estate (Property: 12836 Jacob Grace, Court, Windemere, FL 34786 (“Motion”) (DE #38)

and, in support thereof, states as follows:

1.     Secured Creditor holds a first lien on the subject property located at 12836 Jacob Grace

       Court, Windemere, FL 34786 (the “Property”).

2.     On January 2. 2020, David R. Billsborough and Patricia A. Billsborough (“Debtors”),

       filed a Motion to Sell Property and Pay Secured Creditors and Transactional Costs

       (12836 Jacob Grace Court) requesting approval to sell the property for $686,000.00.

3.      Secured Creditor will provide an updated payoff at or near the scheduled closing of the

       sale.



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4.     Secured Creditor does not object to the Debtors’ Motion to the extent that any sale is

       subject to Secured Creditor’s lien and or short sale approval and that Secured Creditor’s

       lien will be paid in full at the closing of said sale based upon an up to date payoff quote.

5.     Secured Creditor is filing its Response in an abundance of caution, as Secured Creditor

       wants it to be clear that it should not be compelled to participate in a sale of the property

       absent payment in full of Secured Creditor’s mortgage lien on the real property without

       being given the right to credit bid pursuant to 11 U.S.C. § 363(k).

6.     Furthermore, Secured Creditor requests that failure to complete any sale within 90-days

       of entry of this Order will result in any Order authorizing the sale to be deemed moot.

7.     Secured Creditor reserves the right to supplement this response at or prior to any hearing

       on this matter.

WHEREFORE, Secured Creditor respectfully requests entry of an order in compliance with the

above requests and for such other and further relief as the Court deems just and proper.

                                                  Robertson, Anschutz & Schneid, P.L.
                                                  Authorized Agent for Secured Creditor
                                                  6409 Congress Ave., Suite 100
                                                  Boca Raton, FL 33487
                                                  Telephone: 561-241-6901
                                                  Facsimile: 561-997-6909

                                                  By: /s/April Harriott
                                                  April Harriott, Esquire
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                               CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on January 16, 2020, I caused to be electronically filed

the foregoing with the Clerk of Court by using the CM/ECF system, and caused to be served a

true and correct copy via CM/ECF or United States Mail to the following parties:

David R. Billsborough
Patricia A. Billsborough
12836 Jacob Grace Court
Windemere, FL 34786-5711

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                                                By: /s/April Harriott
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